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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

 In re:                                                   Chapter 7

 PROJECT VERTE INC.,                                      Case No. 23-10101-LSS


                    Debtor.


                  NOTICE OF AGENDA FOR MATTERS SCHEDULED
           FOR HEARING ON DECEMBER 12, 2024 AT 10:45 A.M. EASTERN TIME


               All hearings before Judge Silverstein are in person. Remote
                      appearances must be approved by Chambers.

       To attend a hearing remotely, please register using the eCourt
      Appearances tool on the Court’s website at www.deb.uscourts.gov.

       The deadline to register for remote attendance is 4:00 p.m.
     (prevailing Eastern Time) the business day before the hearing
MATTERS UNDER CNO       unless otherwise noticed.
          1.      Motion for an Order Approving Stipulation Between the Chapter 7 Trustee and
                  GreyOrange GMBH Under Fed. R. Bankr. P. 9019 [D.I. 165; Filed November 19,
                  2024]

                       Response Deadline:       December 4, 2024 at 4:00pm ET

                       Responses Received:      None.

                       Related Documents:

                                 A.     Proposed Order Approving Stipulation Between the Chapter
                                        7 Trustee and GreyOrange GMBH Under Fed. R. Bankr. P.
                                        9019 [D.I. 165- 2; Filed November 19, 2024]

                                 B.     Certification of No Objection [Docket No. 168; Filed
                                        December 6, 2024]

                       Status:   Certification of No Objection has been filed.

                                      [Signature Page to Follow]



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Dated: December 9, 2024
       Wilmington, DE
                                     Respectfully submitted,

                                     FOX ROTHSCHILD LLP

                                     By: /s/ Seth A. Niederman
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                                     Counsel for Alfred T. Giuliano,
                                     Chapter 7 Trustee for the estate of Project Verte
                                     Inc.




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                                CERTIFICATE OF SERVICE

        I, Seth A. Niederman, hereby certify that the foregoing Amended Notice of Agenda was

served via the Court’s CM/ECF electronic filing system on all parties registered and authorized to

receive such notice, on December 9, 2024.

Dated: December 9, 2024

                                                    /s/ Seth A. Niederman
                                                    Seth A. Niederman (DE Bar No. 4588)




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